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                                             August 30, 2022
VIA ECF

The Honorable Brian M. Cogan
U.S. District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:    Force, et al. v. Qatar Charity, et al., 1:20-cv-02578-BMC—
       Letter Update Regarding Service of Process

Dear Judge Cogan:

       On behalf of Defendant Qatar Charity, we write to inform the court that the Charity has
received filings in the above-referenced matter, along with cover letters, from the United States
Embassy in Qatar. Qatar Charity is now satisfied that service has been properly effected through
the appropriate channels. As a result, on behalf of Qatar Charity, we respectfully withdraw our
previously filed challenges to service of process, including those asserted in Qatar Charity’s
pending Motion to Dismiss the Complaint.

        This letter is limited to the issue of service of process. Qatar Charity’s position remains
that the Complaint should be dismissed for the remaining reasons stated in the Charity’s Motion
to Dismiss.


                                                     Respectfully submitted,

                                                     /s/ John M. Hillebrecht
                                                     John M. Hillebrecht
                                                     Counsel for Qatar Charity

cc:     All counsel of record (by ECF)
